          Case 5:21-cv-00178-OLG Document 16 Filed 08/27/21 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


TRACY ATKINSON,
          Plaintiff,

v.                                                 C.A. No.: SA:21-cv-00178 OLG-ESC

PRO CUSTOM SOLAR, LLC D/B/A
MOMENTUM SOLAR,
          Defendant.


                                  JOINT REPORT ON ADR

        In accordance with the scheduling order and Local Rule CV-88, the parties file this Joint

Report on ADR. The parties have agreed that they will mediate with Don Philbin on or before

April 13, 2022. The parties have agreed that they will each bear 50% Mr. Philbin’s mediation

fee.




     AGREED:

     By: /s/ Craig Thor Kimmel               By: /s/ Thomas G. Jacks
        Craig Thor Kimmel, Esq.                 Thomas G. Jacks, Esq.
         Kimmel & Silverman, PC                 Hartline Barger, LLP
         30 East Butler Pike                    8750 N. Central Expressway, Ste. 1600
         Ambler, PA 19002                       Dallas, TX 75231
        Attorneys for Plaintiff                 Attorneys for Defendant
